Case 3:21-bk-02197-RCT   Doc 263-1   Filed 07/05/22   Page 1 of 17




      COMPOSITE
      COMPOSITE EXHIBIT
                EXHIBIT A
                        A
                Case 3:21-bk-02197-RCT                         Doc 263-1                 Filed 07/05/22    Page 2 of 17


BIZGISTICS
BIZGISTICS Doc.
           Doc. 117
                117
      Date          User                           Description                                 Time           Fee
12/30/2021
12/30/2021          MM
                    M M    Review
                           Review and   and revise
                                                 revise order
                                                            order relatedrelated to   to         0.20      $83.00
                           McGee
                           McGee sale   sale
12/30/2021
12/30/2021          AG
                    AG     Draft
                           Draft proposed sale
                                    proposed           sale order
                                                                order approving
                                                                            approving            0.90     $270.00
                           sale
                           sale toto D/D/ McGee
                                              McGee and    and
                           circulate
                           circulate for   for comment
                                                  comment prior      prior to  to
                           submission
                           submission to       to court
                                                    court
12/29/2022
12/29/2022         MM      Strategy
                           Strategy RE     RE Sale
                                                Sale Motion
                                                         Motion and      and hearing
                                                                                hearing          0.30     $124.50
                   <
                   <


                           (.2)and
                           (.2)and emailemail with with D    D Etlinger
                                                                 Etlinger
                           re
                           re same
                               same (.1)  (.1)
12/29/2021
12/29/2021          AG     Prepare
                           Prepare for   for andand argue
                                                        argue Sale  Sale Motion
                                                                             Motion at    at     1.60     $480.00
                   (0)
                   >




                           hearing      (1.4).      Call
                           hearing (1.4). Call with C.     with      C.
                           Morgan
                           Morgan re:     re: status
                                                status of   of prior
                                                                 prior salessales andand
                           need
                           need for for lien
                                           lien releases
                                                   releases (.2).  (.2).
12/28/2021
12/28/2021          AG     Prep
                           Prep forfor (.2)
                                          (.2) andand attend
                                                         attend call    call with
                                                                              with D.  D.        0.80     $240.00
                   (0)
                   >




                           Giles
                           Giles in in advance
                                        advance of       of sale
                                                              sale
                           hearing
                           hearing (.2). (.2). Begin
                                                  Begin preparing
                                                             preparing for      for sale
                                                                                      sale
                           hearing
                           hearing (.4)  (.4)
12/27/2021
12/27/2021         MM      Confer
                           Confer with with D,   D, S S Giles,
                                                         Giles, E       Johanson, CC
                                                                     E Johanson,                 0.20      $83.00
                           Morgan,
                           Morgan, D       D Etlinger
                                               Etlinger re    re sales
                                                                   sales
                           titles,
                           titles, hearing
                                     hearing and    and response
                                                            response to        to Mr.
                                                                                    Mr.
oo                 }       Etlinger's
                           Etlinger's requestrequest (.2)  (.2)
12/27/2021
12/27/2021          DS     Draft
                           Draft Notice
                                     Notice of    of Hearing
                                                       Hearing on      on Debtor's
                                                                             Debtor's            0.10      $14.00
                     wn




                           Emergency
                           Emergency Motion     Motion for     for Sale
                                                                      Sale
                           of
                           of Assets
                               Assets Free  Free and and Clear
                                                             Clear of    of All
                                                                             All Liens
                                                                                   Liens
                           Claims
                           Claims and  and Encumbrances
                                               Encumbrances
                           pursuant
                           pursuant to      to 1111 U.S.C.
                                                       U.S.C. §   § 363363 andand file
                                                                                     file
                           Notice
                           Notice of   of Hearing
                                             Hearing (.1). (.1).
12/27/2021
12/27/2021          AG
                    AG     Review
                           Review and   and approve
                                                approve notice   notice of    of hearing
                                                                                   hearing       0.10
                                                                                                 0.10      $30.00
                           on emergency motion to sell (McGee)
12/23/2021
12/23/2021          DS
                    DS     File
                           File Emergency
                                 Emergency Motion       Motion to      to Sell
                                                                            Sell Property
                                                                                   Property      0.20      $28.00
                           Free
                           Free andand Clear
                                           Clear of   of Liens
                                                           Liens
                           (.1);
                           (.1); file
                                  file Certificate
                                         Certificate of       of Necessity
                                                                   Necessity and     and
                           Request        for   Expedited
                           Request for Expedited Hearing re         Hearing         re
                           Emergency
                           Emergency Motion     Motion (.1).   (.1).
12/22/2021
12/22/2021         MM
                   MM      Communicate
                           [Communicate with         with D    D McGee
                                                                  McGee re       re Trucks,
                                                                                     Trucks,     0.20      $83.00
ml                         status
                           status and and timing
                                              timing of    of future
                                                                future sales sales

12/22/2021          AG     Review and revise D. McGee Sale                                       0.30      $90.00
                           Motion
                           Motion
12/21/2022
12/21/2022         MM
                   MM      Communicate
                             |Communicate again
                                             again with
                                                   with CC Morgan
                                                           Morgan re
                                                                  re                             0.20
                                                                                                 0.20      $83.00
                                                                                                           $83.00
                           titles
                           titles (.1)
                                  (.1) and
                                       and strategy
                                            strategy re
                                                      re
                           alternatives
                           alternatives (.1).
                                          (.1).
                Case 3:21-bk-02197-RCT                           Doc 263-1                  Filed 07/05/22    Page 3 of 17


BIZGISTICS
BIZGISTICS Doc.
           Doc. 117
                117
| DateDate    | User |
                    User                 DescriptionDescription                       |            Time
                                                                                                   Time |    Fee]Fee
12/21/2021
12/21/2021          MM
                    MM     Address
                            |Address issue issue withwith D   D Giles
                                                                  Giles related
                                                                             related to  to          0.80    $332.00
                           insurance
                           insurance request  request // demand demand
                           for
                           for a truck damaged in
                                 a  truck      damaged           in anan accident.
                                                                            accident.
12/19/2021
12/19/2021         MM
                   MM      Follow
                           Follow up    up with
                                              with D    D Giles
                                                           Giles re   re Nazir
                                                                          Nazir                      0.20     $83.00
                           Deposit,
                           Deposit, other  other sales sales issues
                                                                 issues and  and
                           364
                           364 issue.
                                   issue.
12/17/2022
12/17/2022         MM
                   MM      Communicate
                             |Communicate with        with D   D Giles
                                                                   Giles and and                     0.30    $124.50
                           ReadyCap
                           ReadyCap re        re Wires,
                                                   Wires, towing,
                                                                towing, titilestitiles
                           and
                           and disposisions.
                                   disposisions.
12/16/2021         MM      Advance comm re Del McGee re                                              0.20     $83.00
                           Purchase
                           Purchase AgreementAgreement (.2)        (.2)


EN IG viii
         Ms
12/15/2021          AG     Edit McGee sale motion and circulate                                      0.00      $0.00
                           to
                           to MWM
                                MWM (.5)     (.5) (No
                                                    (No Charge)
                                                           Charge)
12/15/2021
12/15/2021         MM      Call
                           Call with
                                  with D    D // SS Giles
                                                      Giles re  re sale
                                                                     sale of of vehicles,
                                                                                 vehicles,           0.80    $332.00
                           MD
                           MD Towing
                                  Towing issues,  issues, and and statusof
                                                                       statusof titles
                                                                                     titles
                           (.3)
                           (.3) send
                                  send contract
                                            contract to     to DelDel McGee
                                                                         McGee with   with
                           communications
                           communications via             via email
                                                                 email and   and phone
                                                                                    phone
                           (.2)
                           (.2) and
                                  and advance
                                          advance towing  towing costs  costs issues
                                                                                  issues
                           with
                           with ReadyCap counsel and D / SS Giles
                                    ReadyCap            counsel        and     D  /    Giles
                           (.3)
                           (-3)
12/15/2021
12/15/2021          DS     Draft
                           Draft Proof
                                     Proof of    of Service
                                                     Service of     of Order
                                                                         Order                       0.20     $28.00
                           Granting
                           Granting in      in Part
                                                 Part Debtor’s
                                                         Debtor's
                           Emergency
                           Emergency Motion      Motion for    for Sale
                                                                      Sale of of Assets
                                                                                  Assets
                           Free
                           Free and and Clear
                                            Clear of   of All
                                                           All Liens,
                                                                 Liens,
                           Claims,
                           Claims, and   and Encumbrances
                                                  Encumbrances Pursuant       Pursuant to   to
                           11
                           11 U.S.C.
                                 U.S.C. §   § 363
                                                363 and and ; ; file
                                                                  file
                           Proof
                           Proof of   of Service
                                           Service (.1); (.1); draft
                                                                  draft Proof
                                                                            Proof of  of
                           Serice
                           Serice of   of Order
                                            Order Granting
                                                        Granting in      in
                           Part
                           Part Debtor’s
                                    Debtor's Emergency
                                                    Emergency Motion      Motion for   for (I)
                                                                                             (I)
                           Sale
                           Sale of of Assets
                                        Assets Free  Free and and
                           Clear
                           Clear of  of all
                                          all Liens,
                                                Liens, Claims,
                                                           Claims, and   and
                           Encumbrances
                           Encumbrances Pursuant       Pursuant to      to 11 11
                           U.S.C.
                           U.S.C. §§ 363; 363; and and (II)(ll) Approval
                                                                 Approval of      of Post-
                                                                                       Post-
                           Petition
                           Petition Financing
                                          Financing
                           Pursuant
                           Pursuant to      to 11 11 U.S.C.
                                                        U.S.C. §   § 364
                                                                       364 Effective
                                                                               Effective
                           as
                           as ofof October
                                     October 22,     22, 2021
                                                           2021 and    and
                           file
                           file Proof
                                  Proof of   of Service
                                                  Service (.1). (.1).
                Case 3:21-bk-02197-RCT                            Doc 263-1                  Filed 07/05/22      Page 4 of 17


BIZGISTICS
BIZGISTICS Doc.
           Doc. 117
                117
| DateDate    | User | =
                    User                          Descripon
                                                    Description                        |            Time
                                                                                                    Time |      Fee]
                                                                                                                  Fee
12/14/2021
12/14/2021           DS
                     DS    Upload
                           Upload OrderOrder GrantingGranting in       in Part
                                                                            Part Debtor's
                                                                                    Debtor's          0.20
                                                                                                      0.20      $28.00
                                                                                                                $28.00
                           Emergency
                           Emergency Motion     Motion for     for
                           Sale
                           Sale of Assets Free and Clear
                                 of   Assets        Free      and      Clear of  of All
                                                                                      All
                           Liens,
                           Liens, Claims,
                                     Claims, and    and
                           Encumbrances
                           Encumbrances Pursuant       Pursuant tto       tto 1111 U.S.C.
                                                                                      U.S.C. §  §
                           363
                           363 (.1);
                                 (.1); upload
                                          upload Order   Order
                           Granting
                           Granting in    in Part
                                                Part Debtor's
                                                         Debtor's EmergencyEmergency
                           Motion
                           Motion for  for (I) (I) Sale
                                                    Sale of  of Assets
                                                                   Assets
                           Free
                           Free and
                                  and Clear
                                          Clear of    of all
                                                           all Liens,
                                                                 Liens, Claims,
                                                                             Claims, and   and
                           Encumbrances
                           Encumbrances Pursuant       Pursuant
                           to
                           to 11
                               11 U.S.C.
                                    U.S.C. §§ 363;  363; and  and (II) (ll) Approval
                                                                             Approval of     of
                           Post-Petition
                           Post-Petition Financing  Financing
                           Pursuant
                           Pursuant to     to 11 11 U.S.C.
                                                       U.S.C. §    § 364
                                                                       364 Effective
                                                                               Effective
                           as
                           as of
                               of October
                                   October 22,      22, 2021
                                                           2021 (.1).  (.1).
12/13/2021
12/13/2021          AG
                    AG     Implement
                           Implement revisions revisions suggestedsuggested by        by              0.20
                                                                                                      0.2 0     $60.00
                                                                                                                $60.00
                           ReadyCap
                           ReadyCap to       to sale
                                                   sale orders
                                                           orders
12/12/2021
12/12/2021          AG
                    AG     Review
                           Review editsedits Nazir Nazir Sale Sale Order
                                                                       Order (.2). (.2).              0.70
                                                                                                      0.70     $210.00
                                                                                                               $210.00
                           Finalize
                           Finalize draft
                                       draft of    of Hutson
                                                        Hutson Sale     Sale Order
                                                                                Order and   and
                           circulate      to    counsel
                           circulate to counsel for banner,     for    banner,
                           readycap,
                           readycap, ust,    ust, andand subV subV trustee
                                                                         trustee for   for
                           comment
                           comment (.5).    (.5).
12/10/2021
12/10/2021          AG     Final
                           Final preparation
                                   preparation in          in advance
                                                                advance of       of hearing
                                                                                      hearing         5.40    $1,620.00
                                                                                                              $1,620.00
                           on
                           on Nazir/Hutson
                                Nazir/Hutson Sale         Sale
                           Motions
                           Motions (1.9). (1.9). Attend
                                                      Attend and    and argueargue sale sale
                           motion
                           motion hearing
                                       hearing (.3).    (.3). Call
                                                                 Call
                           with
                           with D.D. Giles
                                       Giles post  post hearing
                                                            hearing (.3).   (.3). Email
                                                                                    Email
                           counsel
                           counsel for  for ReadyCap
                                                ReadyCap re:         re:
                           releasing
                           releasing lien  lien on  on titles
                                                         titles (.1).(.1). Begin
                                                                              Begin
                           drafting
                           drafting proposed
                                         proposed order      order
                           granting
                           granting Nazir Nazir Sale Sale Motion
                                                              Motion (2.8)    (2.8)
12/9/2021
12/9/2021           DS
                    DS     Draft
                           Draft Notice
                                    Notice of     of Hearing
                                                       Hearing on       on Emergency
                                                                              Emergency               0.20
                                                                                                      0.20      $28.00
                                                                                                                $28.00
                           Motion
                           Motion for  for SaleSale of  of Assets
                                                             Assets
                           Free
                           Free and
                                  and Clear
                                          Clear of    of All
                                                           All Liens,
                                                                  Liens, Claims,
                                                                              Claims, and  and
                           Encumbrances
                           Encumbrances Pursuant       Pursuant
                           to
                           to 11
                               11 U.S.C.
                                    U.S.C. §     § 363
                                                    363 and and file file Notice
                                                                             Notice of   of
                           Hearing
                           Hearing (.1);(.1); draft
                                                  draft Notice
                                                             Notice of     of
                           Hearing
                           Hearing on   on Emergency
                                               Emergency Motion        Motion for    for Sale
                                                                                           Sale
                           of Assets       Free
                           of Assets Free and Clear  and     Clear
                           of
                           of All
                              All Liens,
                                    Liens, Claims,
                                                Claims, and    and Encumbrances
                                                                         Encumbrances
                           Pursuant
                           Pursuanttoto 11       11 U.S.C.
                                                       U.S.C. §    §
                           363
                           363 and
                                 and (II)(Il) Approval
                                                Approval of        of Post-Petition
                                                                         Post-Petition
                           Financing
                           Financing Pursuant
                                            Pursuant to        to 11 11
                           U.S.C.
                           U.S.C. §  § 364
                                        364 and   and file
                                                         file file
                                                                 file Notice
                                                                         Notice of   of
                           Hearing
                           Hearing (.1).(.1).
                Case 3:21-bk-02197-RCT                            Doc 263-1                   Filed 07/05/22     Page 5 of 17


BIZGISTICS
BIZGISTICS Doc.
           Doc. 117
                117
| DateDate    | User | =
                    User                          Descripon
                                                   Description                         |            Time
                                                                                                    Time |     Fee] Fee
12/9/2021
12/9/2021            AG
                     AG    Draft
                           Draft response
                                    response to       to inquiry
                                                           inquiry from   from C.   C.                0.60     $180.00
                                                                                                               $180.00
                           Morgan
                           Morgan re:     re: sale
                                               sale motions
                                                        motions (.4)     (.4) and
                                                                                and call call
                           with    C.  Morgan          re:
                           with C. Morgan re: opposition to   opposition           to
                           surcharge
                           surcharge request  request (.2)   (.2)
12/9/2021
12/9/2021           AG
                    AG     Prepare
                           Prepare for    for hearing
                                                hearing on      on Emergency
                                                                      Emergency Sale         Sale     2.80
                                                                                                      2.80     $840.00
                                                                                                               $840.00
                           Motions
                           Motions for     for Nazir
                                                 Nazir and and Hutson
                                                                    Hutson sales  sales by    by
                           reviewing
                           reviewing surcharge
                                             surcharge case      case law,law,
                           reviewing
                           reviewing motions,motions, and      and salesale contracts
                                                                                contracts
                           (2.8)
                           (2.8)
12/8/2021
12/8/2021          MM
                   MM      Work
                           [Work on  on sale
                                           sale motions
                                                   motions and      and revisions
                                                                            revisions to       to     0.50
                                                                                                      0.50     $207.50
                                                                                                               $207.50
                           facilitate      expediting           of
                           facilitate expediting of same, filing and same,       filing     and
                           preparation
                           preparation with      with A   A Gilbert
                                                              Gilbert for   for
                           emergency
                           emergency motion    motion hearing.hearing.
12/8/2021
12/8/2021          MM
                   MM      Communicate
                           [Communicate with         with insurer
                                                              insurer re     re                       0.20
                                                                                                      0.20      $83.00
                                                                                                                $83.00
                           Insurance
                           Insurance issues  issues (.5) (.5)
12/8/2021
12/8/2021           DS
                    DS     Revise,
                           Revise, finalize
                                        finalize and  and assemble
                                                              assemble exhibits  exhibits             0.60      $84.00
                                                                                                                $84.00
                           for
                           for Emergency
                                Emergency Motion      Motion for     for Sale
                                                                           Sale of  of
                           Assets
                           Assets Free Free and and Clear
                                                       Clear of    of All
                                                                        All Liens
                                                                              Liens
                           Claims
                           Claims and Encumbrances pursuant to
                                       and     Encumbrances                pursuant            to
                           11
                           11 U.S.C.
                                U.S.C. §    § 363
                                               363 (.1);
                                                      (.1); filefile Emergency
                                                                       Emergency
                           Motion
                           Motion (.1);  (.1); file
                                                 file Certificate
                                                       Certificate of        of
                           Necessity
                           Necessity and     and Request
                                                     Request for     for Hearing
                                                                            Hearing
                           (.1);
                           (.1); revise,
                                  revise, finalize
                                               finalize and   and assemble
                                                                      assemble
                           exhbits
                           exhbits to   to Emergency
                                              Emergency Motion      Motion
                           for
                           for Sale
                                Sale of  of Assets
                                              Assets Free  Free and  and Clear
                                                                            Clear of    of All
                                                                                             All
                           Liens
                           Liens Claims
                                    Claims and   and Encumbrances
                                                         Encumbrances
                           Pursuant
                           Pursuant to      to 11
                                                11 U.S.C.
                                                      U.S.C. §§ 363   363 and and (II) (ll)
                           Approval
                           Approval of      of Post-Petition
                                                Post-Petition Financing   Financing
                           Pursuant
                           Pursuant to      to 11
                                                11 U.S.C.
                                                      U.S.C. §     § 364
                                                                      364 Effective
                                                                              Effective
                           as
                           as of
                               of October
                                   October 1,       1, 2021
                                                        2021 pursuant
                                                                    pursuant to      to 11  11
                           U.S.C.
                           U.S.C. §§  §§ 363363 andand 364 364 (.1);(.1); file
                                                                            file
                           Emergency
                           Emergency Motion    Motion (.1);    (.1); file
                                                                       file Certificate
                                                                              Certificate
                           of
                           of Necessity
                               Necessity and     and Request
                                                         Request for      for Hearing
                                                                                 Hearing
                           (.1);
                           (.1); file
                                  file Notice
                                          Notice of   of Filing
                                                           Filing Declaration
                                                                       Declaration of          of
                           Darrell
                           Darrell Giles,
                                       Giles, GEO GEO of    of Bizgistics,
                                                                  Bizgistics, Inc.  Inc.
                           Regarding
                           Regarding Connection
                                              Connection with       with Proposed
                                                                              Proposed
                           Purchasers
                           Purchasers of       of Debtor
                                                    Debtor Assets  Assets and   and Fair Fair
                           Value     of   Vehicle
                           Value of Vehicle Sales (.1)  Sales       (.1)
                 Case 3:21-bk-02197-RCT                       Doc 263-1              Filed 07/05/22     Page 6 of 17


 BIZGISTICS
 BIZGISTICS Doc.
            Doc. 117
                 117
|Date  Date |    | User |
                     User               Description
                                              Description                      |           Time
                                                                                           Time |     Fee  Fee
 12/8/2021
 12/8/2021            AG
                      AG    Implement
                            Implement final
                                          final edits
                                                 edits toto emergency
                                                             emergency                         1.40
                                                                                               1.40   $420.00
                                                                                                      $420.00
                            sale
                            sale motions
                                 motions for for Nazir
                                                  Nazir and
                                                          and
                            Hutson
                            Hutson sales (.5). Revise certificates
                                     sales   (.5). Revise    certificates of of
                            necessity
                            necessity for
                                        for emergency
                                             emergency motionsmotions (.2).
                                                                         (.2).
                            Implement
                            Implement additional
                                           additional round
                                                          round of of edits
                                                                      edits toto
                            emergency
                            emergency motions
                                           motions and and
                            accompanying
                            accompanying certificates
                                               certificates of  of necessity
                                                                    necessity
                            and
                            and circulate
                                 circulate toto MWM
                                                 MWM for   for review
                                                                review (.3).
                                                                         (.3).
                            Advance
                            Advance same
                                       same forfor filing
                                                    filing (.4).
                                                            (.4).



I                                         eel                                              I
12/7/2021            AG     Email client re: McGee contract (.2).                      0.40           $120.00
                            Revise
                            Revise Hutson
                                       Hutson salesale motion
                                                         motion (.2).
                                                                    (.2).
12/6/2021
EN                I AG      Email
                            Fal ei   S.
                                     S. Giles
                                          Ges and
                                         Giles    and.D.
                                                 and   D. Giles
                                                           Giles
                                                           Ges re  re:
                                                                   re: Ifran
                                                                        Ifran
                                                                         ranand|and
                                                                                 and I 0.40           $120.00
                            Hutson
                            Hutson sale sale motions
                                               motions (.2).
                                                           (.2).
12/1/2021
12/1/2021            AG     Comunicate
                            Comunicate with    with C C Morgan
                                                         Morgan again again re re      0.20
                                                                                       0.2             $60.00
                            titles
                            titles and
                                    and manage
                                           manage collection
                                                       collection issues.
                                                                       issues.
                            (.2)
                            (2)
12/1/2021
12/1/2021            AG     Review
                            Review dmv  dmv website
                                               website to  to locate
                                                                locate titles
                                                                          titles       1.10           $330.00
                            per
                            per request
                                  request of  of client
                                                  client (.4).
                                                           (.4). And
                                                                  And review
                                                                         review
                            process
                            process for  for receiving
                                             receiving copies
                                                            copies of of titles
                                                                          titles
                            (.7)
                            (.7)
11/30/2021          MM      call
                            call to
                                  to Corpsmart
                                      Corpsmart re    re Old
                                                          Old Republic
                                                                 Republic //           1.00           $415.00
                            titles
                            titles and
                                    and work
                                           work on on extraction
                                                        extraction of   of title
                                                                            title
                            issues
                            issues (.4)
                                      (.4) Communicate
                                            Communicate with     with Clive
                                                                         Clive
                            Morgan
                            Morgan and   and D  D Giles
                                                  Giles rere titles,
                                                              titles, status
                                                                       status of  of
                            sales
                            sales (.6)
                                    (.6)
B                -
11/29/2021
11/29/2021           AG     Research
                            Research 364   364 standards
                                                  standards (.7)    (.7) Further
                                                                           Further             2.90
                                                                                               2.90   $870.00
                            revise
                            revise Ifran
                                     Ifran sale
                                              sale motion
                                                      motion to    to
                            include
                            include 364364 relief
                                               relief (1.9).
                                                         (1.9). Draft
                                                                   Draft proposed
                                                                             proposed
                            email
                            email toto D.D. Giles
                                             Giles to  to
                            accompany
                            accompany revised  revised sale sale motion
                                                                    motion (.3)  (.3)
11/23/2021
11/23/2021           AG     Call
                            Call with
                                 with D.  D. Giles
                                              Giles re: re: titles
                                                             titles to to vehicles
                                                                           vehicles            0.70   $210.00
                            and
                            and sale
                                 sale to to Ifran
                                              Ifran (.4).
                                                       (.4). Reach
                                                               Reach out  out toto
                 BB         counsel
                            counsel for for ReadyCap
                                              ReadyCap re:      re: titles
                                                                      titles (.3
                                                                               (.3
11/22/2021
11/22/2021           AG     Revise
                            Revise draft
                                      draft sale
                                               sale motions
                                                       motions to     to Nazir,
                                                                           Nazir,              2.60   $780.00
                            Sawka,
                            Sawka, McGee
                                       McGee and    and Hudson
                                                            Hudson to    to
                            incorporate        MWM
                            incorporate MWM edits and      edits    and
                            comments
                            comments (2.2)   (2.2) circulate
                                                      circulate to    to client
                                                                          client
                            (.2)
                            (.2) and
                                 and further
                                        further revise
                                                     revise based
                                                                based off   off of
                                                                                 of D.D.
                 B          Giles
                            Giles comments
                                   comments (.2)      (.2)
11/19/2021
11/19/2021           AG     Revise
                            Revise sale
                                      sale motions
                                              motions to     to include
                                                                 include                       1.50   $450.00
                            surcharge
                            surcharge section
                                            section and   and prepare
                                                                prepare
                            exhibits
                            exhibits with
                                        with listlist of
                                                       of trucks
                                                           trucks (1.5)(1.5)
             Case 3:21-bk-02197-RCT                         Doc 263-1                Filed 07/05/22    Page 7 of 17


BIZGISTICS Doc.
Se]        Doc. 117
                pT
    Date       User   |               Description
                                        Description                 |                      Time
                                                                                           Time |     Fee
                                                                                                        Fee
hte
11/18/2021     MM     Send titles to AZ buyer's lender with                                  0.20      $83.00
                      comment
                      comment re   re sale
                                       sale, , timing.
                                               timing.
11/18/2021
11/18/2021      AG    Call with D. Giles re: issues with                                     0.70     $210.00
                      newwave
                      newwave bid  bid (.7)
                                        (.7)
11/17/2021
11/17/2021      AG    Organize
                      Organize sales
                                  sales deposits,
                                          deposits, accounting
                                                        accounting                           0.80
                                                                                             0.80     $240.00
                                                                                                      $240.00
                      and
                      and timing
                            timing // payment
                                       payment history
                                                    history for
                                                              for
                      deposits
                      deposits for
                                 for Trust
                                      Trust Accounting
                                               Accounting in  in
                      connection
                      connection withwith sales
                                             sales (.8)
                                                    (.8)
11/16/2021
11/16/2021      MM    Review
                      Review// revise
                                  revise declaration
                                           declaration ,, emails
                                                             emails rere                     0.60     $249.00
                                                                                                      $249.00
                      sellers,
                      sellers, updated
                               updated pricses
                                             pricses and
                                                       and compare
                                                            compare
                      with
                      with auction timing and proces (.6)
                             auction   timing    and   proces    (.6)

11/16/2021
11/16/2021      AG    Update
                       Update master
                                   master sale    sale list list (1.1).
                                                                   (1.1). Revise
                                                                            Revise           2.10
                                                                                             2.10     $630.00
                                                                                                      $630.00
                      Sale
                       Sale Motion
                              Motion to     to create
                                                  create inidivudal
                                                                inidivudal sale   sale
                      motions
                       motions for  for each
                                           each individual
                                                      individual sale    sale (.8).
                                                                                  (.8).
                      Draft
                       Draft declaration
                               declaration to         to be  be used
                                                                   used in in
                      connection
                       connection with    with sale sale (.2).(.2).
11/15/2021
11/15/2021      MM    Call
                       Call lender
                             lender for  for AZ  AZ buyer
                                                      buyer and     and discuss
                                                                          discuss            0.20
                                                                                             0.20      $83.00
                                                                                                       $83.00
                      documents
                       documents and      and timing
                                                   timing (.2)    (.2) address
                                                                        address
                      sales,
                       sales, admin
                               admin and     and surchage
                                                     surchage issues    issues given
                                                                                   given
                      time
                      time andand expense
                                     expense of        of negotiating
                                                              negotiating
                      private
                       private sales
                                  sales (.6) (.6) ..
11/15/2021
11/15/2021      AG    Create
                       Create excel
                                 excel chartchart to    to track
                                                              track                          2.90
                                                                                             2.90     $870.00
                                                                                                      $870.00
                      sales/deposits
                       sales/deposits (.4).      (.4). Send
                                                         Send follow follow up   up
                      emails
                       emails re:re: excel
                                       excel tracking
                                                   tracking sheet    sheet (.2).
                                                                               (.2).
                      Update
                       Update excelexcel sheet sheet to    to include
                                                                 include
                      additional
                       additional potential
                                        potential sale      sale details
                                                                     details (1.3).
                                                                                 (1.3).
                      Emails
                       Emails to to S.S. giles
                                           giles and and D.    D. giles
                                                                    giles re:
                                                                            re: status
                                                                                  status
                      of
                       of deposits
                           deposits (.3). (.3). Conf
                                                   Conf with  with MWM MWM re:      re:
                      status
                       status ofof sale
                                     sale agreements,
                                                agreements, deposits,   deposits,
                      and
                       and timing
                             timing of   of sales
                                                sales (.4).
                                                         (.4). Revise
                                                                    Revise draft
                                                                               draft
                      sale
                       sale motions
                             motions (.3)     (.3)
11/12/2021
11/12/2021      MM    Email
                       Email to
                      mailto   to C     Morgan re
                                    CCMorgan             ree Hutsonand
                                                                Hutsonand AZ
                                                                Hutsonand          AZ
                                                                                    42 |     0.10      $41.50
                                                                                                       $41.50
                      Sales
                       mailto CMorgan e Hutsonand 42 |
11/12/2021
11/12/2021      MM    Receipt
                       Receipt of  of wire
                                        wire trasnfers
                                                  trasnfers from     from various
                                                                              various        0.60     $249.00
                                                                                                      $249.00
                      deposit
                       deposit holders
                                   holders and     and advancement
                                                             advancement of           of
                      issues
                       issues inin connection
                                    connection sales         sales and and
                      documentation
                       documentation of same       of  same
                Case 3:21-bk-02197-RCT                     Doc 263-1              Filed 07/05/22     Page 8 of 17


BIZGISTICS
BIZGISTICS Doc.
           Doc. 117
                117
|    Date
      Date    | User |
                    User               Description
                                               Description                   |         Time
                                                                                       Time |      Fee] Fee
11/11/2021
11/11/2021          MM
                    MM     Calls
                           Calls with
                                  with S  S Giles
                                             Giles & & D D McGee
                                                             McGee re     re               1.10
                                                                                           1.10    $456.50
                                                                                                   $456.50
                           puchase
                           puchase // timing
                                          timing issues
                                                     issues (.3)(.3) Follow
                                                                        Follow upup
                           email   with     D  Giles    re purchasers'
                           email with D Giles re purchasers’
                           requests
                           requests for for glass
                                              glass replacement
                                                      replacement and        and
                           review
                           review of of related
                                          related emails
                                                      emails (.2) (.2) Strategy
                                                                         Strategy
                           re
                           re wires
                               wires and
                                       and sale
                                              sale motions
                                                     motions // timing timing andand
                           address
                           address private
                                       private salesale prices,
                                                          prices,
                           spreadsheet
                           spreadsheet (.6)   (.6)
11/1/2021          MM      Email to C Morgan re Bizgisticss sales                          0.10     $41.50
                           and
                           and status
                                 status update.
                                            update.
11/11/2021          AG     Finalize edits to moecker agreement                             0.30     $90.00
                           and
                           and circulate
                                 circulate to  to MWM(.3).
                                                   MWM(.3).
11/11/2021
11/11/2021          AG
                    AG     Add
                           Add footnote
                                 footnote reserving
                                                reserving right right to to                0.30
                                                                                           0.30     $90.00
                                                                                                    $90.00
                           surcharge
                           surcharge to    to motion
                                               motion to   to sell
                                                                sell (.1).
                                                                       (.1).
                           Email
                           Email S.S. Giles
                                       Giles andand D. D. Giles
                                                           Giles re: re: deposits
                                                                           deposits
                           and
                           and sale
                                 sale agreements
                                        agreements (.1).    (.1). Retrieve
                                                                    Retrieve
                           appraisal
                           appraisal values
                                         values for for MWM
                                                          MWM (.1)    (.1)
11/10/2021
11/10/2021          AG
                    AG     ADJUST
                           ADJUST Revise
                                      Revise initial
                                               initial draft
                                                       draft of
                                                              of motion
                                                                 motion                    2.90
                                                                                           2.90    $870.00
                                                                                                   $870.00
                           to
                           to approve
                               approve sale
                                          sale and
                                                and circulate
                                                      circulate to
                                                                 to MEM
                                                                    MEM
                           (.7).
                           (.7). Compare
                                  Compare actual
                                              actual offers
                                                       offers received
                                                               received toto
                           initial
                           initial offers
                                   offers (1.2).
                                           (1.2). Redline
                                                    Redline Moecker
                                                              Moecker
                           agreement
                           agreement for auction of trucks (1.0)
                                          for  auction    of trucks (1.0)
11/9/2021
11/9/2021           AG
                    AG     Meeting
                            Meeting withwith M.
                                              M. Murray
                                                   Murray re:  re: drafting
                                                                    drafting of
                                                                              of           2.00
                                                                                           2.00    $600.00
                                                                                                   $600.00
                           sale
                            sale motion
                                   motion for
                                            for vehicles
                                                 vehicles
                           seeking
                            seeking hybrid
                                       hybrid relief
                                                relief (.6).
                                                        (.6). Begin
                                                               Begin
                           drafting
                            drafting renewed
                                       renewed sale sale motion
                                                           motion
                           seeking
                            seeking mixmix of
                                            of private
                                               private salesale and
                                                                  and auction
                                                                       auction
1/4/2021
1/4/2021            AG
                    AG     (Review
                                 )
                            Review email
                                      email from
                                              from Sue,
                                                      Sue, revise
                                                             revise section
                                                                      section              0.50
                                                                                           0.50    $150.00
                                                                                                   $150.00
                           of
                           of sale
                              sale agreement
                                    agreement to    to
                           specifically
                           specifically address
                                           address insurance,
                                                      insurance, draft
                                                                 draft
                           sample
                           sample exhibit
                                     exhibit A  A and
                                                  and
                           circulate
                           circulate all
                                       all to
                                            to S.
                                               S. Giles.
                                                  Giles.


RL                                  main                                               |
11/3/2021          MM      Call with D Giles re contract, Arizona                          0.20     $83.00
                           buyers
                           buyers and
                                    and status
                                          status (.2)
                                                  (.2)
11/3/2021
11/3/2021           AG     Email
                           Email draft
                                  draft contracts
                                          contracts to  to S.
                                                            S. Giles
                                                                Giles and
                                                                        and D.
                                                                             D.            0.40    $120.00
                                                                                                   $120.00
                           Giles
                           Giles and
                                 and forward
                                       forward
                           message
                           message from
                                      from ReadyCap
                                              ReadyCap (.4)   (.4)
11/2/2021
11/2/2021           AG     Review
                           Review spreadsheet
                                     spreadsheet re:   re: sale
                                                            sale (.2)
                                                                   (.2) and
                                                                         and               0.50
                                                                                           0.5     $150.00
                                                                                                   $150.00
                           send
                           send email
                                 email with
                                          with follow
                                                follow up  up
                           questions
                           questions re:re: same
                                             same (.1).
                                                    (.1). Call
                                                            Call with
                                                                   with D.D.
                           Giles
                           Giles re
                                 re additional
                                     additional questions
                                                   questions
                           regarding
                           regarding columns
                                       columns on  on sale
                                                         sale spreadsheet
                                                                spreadsheet
                           (.2)
                           (2)
               Case 3:21-bk-02197-RCT                Doc 263-1           Filed 07/05/22           Page 9 of 17


 BIZGISTICS
 BIZGISTICS Doc.
            Doc. 117
                 117
| Date Date     | User    | ~~                Descripon
                                                Description                    | Time  Time |  Fee]Fee
 11/1/2021
 11/1/2021           MM
                     MM   Calls
                           |Calls with
                                  with D  D Giles
                                             Giles re  re individual
                                                            individual sales
                                                                           sales .2,
                                                                                   .2,   1.00
                                                                                         1.00 $415.00
                                                                                              $415.00
                          follow
                          follow up  up onon and
                                               and review
                                                      review
                          status
                          status of service truck // accident
                                    of  service      truck        accident truck
                                                                              truck
                          and
                          and related
                                 related litigaiton
                                             litigaiton
                          positions
                          positions vis  vis aa vis
                                                 vis Banner
                                                       Banner .7,   .7, email
                                                                        email rere
                          turck
                          turck contract
                                   contract .1   .1


I               I verI
10/29/2021         AG     Review and revise latest draft of                              0.40 $120.00
                          contract
                          contract for  for sale
                                             sale of of trucks
                                                          trucks
10/28/2021
10/28/2021         AG
                   AG     Draft
                          Draft initial
                                   initial draft
                                            draft of  of contract
                                                           contract for for              2.80
                                                                                         2.80 $840.00
                                                                                              $840.00
Le                        purchase
                          purchase and   and sale
                                                sale of of vehicles
                                                             vehicles                  Eh
                          (2.8)
                          (2.8)
10/28/2021        MM      Prepare for and attend Bizgistics                              1.00 $415.00
                          hearing
                          hearing on   on Motion
                                            Motion to    to Sell
                                                              Sell
10/27/2021        MM      review vehicles sales agreement and                            0.30 $124.50
                          revise
                          revise with
                                    with comment
                                            comment (.3)      (.3)
10/26/2021
10/26/2021         AG
                   AG     Call
                          Call with
                                 with S.S. Giles
                                            Giles andand D.  D. Giles
                                                                 Giles re:
                                                                         re:             0.00   $0.00
                                                                                                 $0.00
                          auction
                          auction process
                                       process and  and auction
                                                            auction
                          proposals
                          proposals (.5). (.5). Call
                                                 Call with
                                                         with Ready
                                                                  Ready CapCap
                          counsel      re:  proposed
                          counsel re: proposed sale           sale
                          process
                          process (.2) (.2)


I                    eslOs Wt
10/26/2021        MM      Call with S / D Giles (.5) and C Morgan                             0.70 $290.50
                          re    Auction          Process
                           re Auction Process (.2)             (.2)
10/26/2021
10/26/2021        MM      Review
                           Review insurance
                                         insurance preview    preview from   from Brown
                                                                                     Brown    0.30 $124.50
                                                                                                   $124.50
                          Insurance
                           Insurance .(.2)      .(.2) email
                                                         email to  to C C
                          Morgan
                           Morgan re       re status
                                                  status of  of case
                                                                  case and and issues
                                                                                 issues
                          related
                           related to    to trucks.
                                                trucks. (.1) (.1)
10/25/2021
10/25/2021        MM      Call
                           Call M  M Healy
                                        Healy re     re auction
                                                          auction statusstatus (.2)
                                                                                  (.2)        0.60 $249.00
                                                                                                   $249.00
                          prepare
                           prepare for    for status
                                                   status confernce
                                                              confernce                      NE.
                          (.4)
                           (4)

I              oe
10/24/2021        MM      communicate with ReadyCap re                                        0.10  $41.50
                          storage
                           storage (.1)      (.1)
10/21/2021
10/21/2021        MM      Review
                           Review email  email re      re bids
                                                           bids andand auction
                                                                           auction from from  0.60 $249.00
                          SS D D Giles
                                  Giles and and address
                                                      address questions
                                                                    questions re     re
                          same
                           same (.2)  (.2) address
                                              address issues  issues with with proposal
                                                                                 proposal
                          by
                           by Hamilton
                                 Hamilton (.4)      (.4)
10/20/2021
10/20/2021         AG     Revise
                           Revise chart chart of    of trucks
                                                         trucks to   to bebe sold
                                                                              sold andand     1.60 $480.00
                          and
                           and circulate
                                   circulate to       to MWM
                                                           MWM in      in advance
                                                                           advance of    of
                          hearing
                           hearing (1.6). (1.6).
10/17/2021
10/17/2021        MM
                  MM      Call
                            |Call Morgan
                                   Morgan re        re Hamilton
                                                          Hamilton group, group,              1.00 $415.00
                          auction,
                           auction, sale   sale issues
                                                     issues and and cash cash collateral
                                                                                collateral
                          use
                           use (.5)(.5) Strategy
                                         Strategy re        re surcharge
                                                                surcharge issues issues
                          for
                          for unsecured
                                  unsecured creditors   creditors and    and admin
                                                                               admin
                          claimants
                           claimants (.5)      (.5)
               Case 3:21-bk-02197-RCT                         Doc 263-1                 Filed 07/05/22    Page 10 of 17


BIZGISTICS
BIZGISTICS Doc.
           Doc. 117
                117
| DateDate    | User |
                    User                Description
                                                  Description                      |           Time
                                                                                               Time |    Fee]
                                                                                                           Fee
10/13/2021
10/13/2021           DS
                     DS    Draft
                           Draft Notice
                                    Notice of   of Hearing
                                                      Hearing on    on Debtor's
                                                                           Debtor's              0.10
                                                                                                 0.10     $14.00
                                                                                                          $14.00
                           Exedited
                           Exedited MotionMotion for     for Sale
                                                               Sale of of
                           Assets
                           Assets Free and Clear of All Liens,
                                     Free     and      Clear     of  All    Liens,
                           Claims,
                           Claims, and and Encumbraces
                                               Encumbraces
                           Pursuant
                           Pursuant to    to 1111 U.S.C.
                                                      U.S.C. §   § 363
                                                                    363 and and ile ile
                           Notice
                           Notice of  of Hearing
                                           Hearing
10/12/2021
10/12/2021         MM      Call with
                           Call  with Insurance
                                         Insurance broker    broker (.5)  (.5)                   0.50    $207.50
                                                                                                         $207.50
10/11/2021
10/11/2021         MM
                   MM      and
                            |and insurance
                                  insurance (.2)    (.2) andand storage
                                                                   storage wtih   wtih           0.50
                                                                                                 0.50    $207.50
                                                                                                         $207.50
                           Mark
                           Mark Healy
                                    Healy (.3) (.3)
10/10/2021
10/10/2021          AG
                    AG     Respond
                           Respond to    to email
                                               email from from MWM  MWM re:      re:             0.30
                                                                                                 0.30     $90.00
                                                                                                          $90.00
                           Ready     Cap     objection
                           Ready Cap objection to moecker      to   moecker
                           employment
                           employment (.3).      (.3).
10/8/2021
10/8/2021           AG
                    AG     Finalize
                           Finalize 363363 motion
                                                motion for    for sale
                                                                    sale of  of trucks
                                                                                 trucks          3.10    $930.00
                           and
                           and application
                                  application to       to employ
                                                            employ MoeckerMoecker
                           (.7).
                           (.7). Leave
                                  Leave voicemail
                                             voicemail with    with Hamilton
                                                                        Hamilton
                           Group
                           Group (.2)(.2) andand follow
                                                     follow up   up call
                                                                      call with
                                                                              with Mike Mike
                           Knudson
                           Knudson (.2). (.2). File
                                                  File andand mailmail 363363 motion
                                                                                   motion
                           and
                           and application
                                  application to       to employ
                                                            employ moeckermoecker
                           (1.8).
                           (1.8). Draft Notice of Filing Service
                                    Draft     Notice        of  Filing    Service
                           Matrix
                           Matrix (.2)(.2)
10/7/2021
10/7/2021           AG
                    AG     Repeated
                           Repeated correspondence
                                            correspondence with           with D.   D.           2.00    $600.00
                           Giles
                           Giles re:
                                   re: trucks
                                        trucks to    to be be included
                                                                included in     in sale
                                                                                     sale
                           (.5).
                           (.5). Calls
                                  Calls with
                                           with S.  S. Giles
                                                         Giles (.3)
                                                                  (.3) and
                                                                         and D.  D. Giles
                                                                                       Giles
                           (.3)
                           (.3) re:
                                 re: trucks
                                      trucks ownedowned by      by Bizgisitcs
                                                                     Bizgisitcs and     and
                           liens.
                           liens. Review
                                    Review items  items necessary
                                                              necessary to      to sell
                                                                                     sell
                           truck
                           truck andand strategy
                                           strategy re:     re: same
                                                                  same (.5) (.5) andand
                           revise
                           revise spreadsheet
                                     spreadsheet of          of trucks
                                                                 trucks to    to bebe
                           included
                           included in   in sale
                                              sale (.4)(.4)
10/7/2021
10/7/2021          MM
                   MM      Call
                           [Call CC Morgan
                                     Morgan re re sale
                                                   sale issues
                                                         issues (.3)
                                                                  (.3) call
                                                                       call MM                   1.50    $622.50
                           Healy
                           Healy re  re same
                                        same (.2)
                                               (.2) and
                                                     and address
                                                           address auction
                                                                      auction
                           costs
                           costs andand relocation
                                         relocation of of vehicles
                                                           vehicles (.7)
                                                                       (.7)
                           follow
                           follow up  up communication
                                         communication from    from M  M
                           Healy
                           Healy re  re declaration
                                        declaration (.2)
                                                       (.2) address
                                                             address email
                                                                         email
                           from
                           from Ready
                                    Ready Cap
                                            Cap regarding
                                                  regarding appraisal
                                                                appraisal
                           (.1)
                           (:1)

10/7/2021
10/7/2021          MM
                   MM      Call
                           [Call M
                                 M Healy
                                     Healy rere declaration
                                                 declaration andand logistis
                                                                      logistis                   1.30    $539.50
                           related
                           related to to sale
                                         sale (.3)
                                                (.3) and
                                                      and communicate
                                                          communicate
                           with
                           with SS // DD Giles
                                         Giles rere same
                                                     same (.2)
                                                           (.2) deal
                                                                  deal with
                                                                       with
                           Trucks
                           Trucks andand title
                                          title // auction
                                                    auction (.8)
                                                             (.8)

10/6/2021
10/6/2021           AG
                    AG     and
                           and draft
                                draft list
                                       list of
                                            of trucks
                                               trucks for
                                                      for potential
                                                          potential                              0.50
                                                                                                 0.50    $150.00
                                                                                                         $150.00
                           auction
                           auction and
                                     and circulate
                                           circulate (.5)
                                                     (.5)
               Case 3:21-bk-02197-RCT                           Doc 263-1                  Filed 07/05/22    Page 11 of 17


 BIZGISTICS
 BIZGISTICS Doc.
            Doc. 117
                 117
| Date Date     | User    | ~~          Descripon
                                           Description                |                            Time
                                                                                                   Time |   Fee]
                                                                                                              Fee
 10/6/2021
 10/6/2021           AG
                     AG   Draft
                          Draft Declaration
                                Declaration in   in Support
                                                     Support ofof                                   0.10
                                                                                                    0.10     $30.00
                                                                                                             $30.00
                          Debtor's
                          Debtor's Application
                                    Application for   for Authorizatoin
                                                          Authorizatoin
                          to
                          to Employ Moecker Auctions, Inc.
                             Employ   Moecker       Auctions,     Inc. as
                                                                       as
                          Auctioneer
                          Auctioneer(.1) (.1)
10/5/2021
10/5/2021          MM
                   MM     Address
                          [Address issues
                                   issues withwith Moecker
                                                     Moecker proposal,
                                                                proposal,                           0.60    $249.00
                                                                                                            $249.00
                          auction
                          auction and
                                  and review
                                        review contract
                                                    contract terms
                                                              terms (.6)(.6)


10/4/2021
10/4/2021          MM
                   MM      call
                           [call with
                                  with M    M Healy
                                                 Healy re   re auction
                                                                  auction issue issue (.4)(.4)      1.10    $456.50
                                                                                                            $456.50
                           address
                           address quotes,quotes, motion motion to      to sell
                                                                             sell andand sale
                                                                                            sale
                           motion
                           motion (.7)   (.7)
10/4/2021
10/4/2021          AG
                   AG      Cross
                           Cross reference list
                                     reference           list ofof vehicles
                                                                     vehicles to     to be
                                                                                         be         1.40    $420.00
                                                                                                            $420.00
                           sold
                           sold with
                                   with vehicle
                                             vehicle list  list containd
                                                                  containd in      in
                           schedules
                           schedules (.8).     (.8). Review
                                                       Review auction auction
                           proposal
                           proposal receivedreceived from    from Moecker
                                                                        Moecker (.4)     (.4)
                           and
                           and summarize
                                   summarize and        and send send high high level
                                                                                    level
                           thoughts
                           thoughts regardingregarding same     same to   to MWM
                                                                               MWM (.2)     (.2)
9/30/2021
9/30/2021          AG
                   AG      Begin
                           Begin drafting
                                      drafting Motion Motion to       to Sell
                                                                          Sell Property
                                                                                  Property          0.60    $180.00
                                                                                                            $180.00
                           Pursuant
                           Pursuant to       to 363
                                                  363 to to sell
                                                               sell delivery
                                                                       delivery
                           vehicles
                           vehicles
9/30/2021
9/30/2021          MM     Draft
                           Draft     applicaiton to
                           Draft applicaiton
                                     applicaiton           to employ
                                                           to     employ M
                                                                 employ        MM Healy
                                                                                     Healy |
                                                                                     Healy         0.30)
                                                                                                     0.30   $124.50
                                                                                                            $124.50
9/30/2021
9/30/2021          MM
                   MM      Call
                            |Call with
                                  with readyCap
                                            readyCap to       to discuss
                                                                    discuss sale, sale, cash
                                                                                           cash     1.00
                                                                                                    1.0     $415.00
                                                                                                            $415.00
                           collateral
                           collateral etc.    etc. (.4)
                                                     (.4) Comm
                                                            Comm
                           with
                           with D   D // SS Giles
                                               Giles re re readyCap
                                                             readyCap issues,   issues,
                           process,
                           process, sales  sales and and truck
                                                             truck
                           issues
                           issues (.2) (.2) Call
                                               Call with
                                                      with M    M Healy
                                                                      Healy re  re sales
                                                                                     sales
                           issues
                           issues (.4) (.4)
9/29/2021
9/29/2021          MM      Follow
                           Follow up    up correspondence
                                               correspondence with           with M    M            2.00    $830.00
                                                                                                            $830.00
                           Healy
                           Healy (.2) (.2) andand D   D Giles
                                                         Giles re    re sales
                                                                         sales issues
                                                                                   issues
                           (.4)
                           (.4) and
                                  and advance/strategy
                                          advance/strategy re               re sales
                                                                                 sales
                           process
                           process and    and timing,
                                                  timing, VIN    VIN #s #s and
                                                                             and liens,
                                                                                      liens,
                           storage
                           storage issues,issues, quickquick sales sales process,
                                                                             process,
                           extracting
                           extracting of       of vehicles
                                                   vehicles if      if FedEx
                                                                        FedEx
                           contract        is   continues,
                           contract is continues, contingency       contingency
                           rates
                           rates and and coverage
                                              coverage costs,   costs,
                           insurance
                           insurance (1.4)     (1.4)
9/29/2021
9/29/2021          MM      Call
                           Call with
                                  with ReadyCap
                                            ReadyCap to         to discuss
                                                                      discuss Cash Cash             0.70    $290.50
                                                                                                            $290.50
                           Collateral
                           Collateral Motion   Motion and    and salessales
                           (.5),
                           (.5), communicate
                                   communicate with           with SS /D  /D Giles
                                                                                Giles re  re
                           ReadyCap,
                           ReadyCap, process,   process, sale,   sale,
                           oustanding
                           oustanding items      items for  for Trustee
                                                                   Trustee (.2)   (.2)
               Case 3:21-bk-02197-RCT                   Doc 263-1            Filed 07/05/22    Page 12 of 17


BIZGISTICS
BIZGISTICS Doc.
           Doc. 117
                117
| DateDate    | User | =
                    User                    Description
                                              Description                |        Time
                                                                                  Time |      Fee] Fee
9/29/2021
9/29/2021           MM
                    MM     communicate
                           [communicate with  with M  M Healy
                                                           Healy rere               1.50
                                                                                    1.50      $622.50
                                                                                              $622.50
                           auction
                           auction process
                                      process (.5)
                                                 (.5) with
                                                       with follow
                                                               follow up up
                           email   to  M  Healy    (.2)  call
                           email to M Healy (.2) call with      with
                           D
                           D Giles
                              Giles re
                                     re trucks
                                        trucks andand sale
                                                         sale ofof vehicle,
                                                                   vehicle,
                           hearing
                           hearing on on salary
                                          salary (.2)
                                                   (.2) Strategy
                                                          Strategy re  re sale
                                                                           sale
                           hearing,
                           hearing, protection
                                       protection of   of Debtor'
                                                            Debtor’ svalue
                                                                       svalue
                           and
                           and interest
                                 interest inin vehicles,
                                               vehicles, (.5) (.5) and
                                                                   and email
                                                                          email
                           to
                           to MM Healy
                                  Healy rere Vin
                                              Vin Numbers,
                                                    Numbers, (.1)  (.1)
tora.
TOTAL          |       | 00000
                             | 75.70]
                                75.70 $25756.00]
                                      $25,756.00
                  Case 3:21-bk-02197-RCT                 Doc 263-1              Filed 07/05/22       Page 13 of 17


BIZGISTICS
BIZGISTICS Doc.
           Doc. 1213
                : 213
|   Date
      Date    |     User |
                      User              Description
                                              Description                      |          Time
                                                                                          Time | Fee
                                                                                                  Fee |
12/15/2021
12/15/2021            MM
                      MM     Review
                             Review and
                                      and revise
                                            revise motion
                                                    motion onon personal
                                                                  personal                  0.70
                                                                                            0.70     $290.50
                                                                                                     $290.50
                             property
                             property sale
                                        sale and
                                              and advise
                                                   advise on
                                                           on risks
                                                                risks
                             related
                             related to same on identification of
                                     to  same    on  identification   of
                             items,
                             items, disclosure
                                    disclosure of of personal
                                                      personal
                             relationships
                             relationships andand moving
                                                   moving ball
                                                            ball forward.
                                                                  forward.


12/20/2021
12/20/2021           MM
                     MM      Call
                             Call with
                                  with Del
                                        Del McGee
                                              McGee re re vehicle
                                                          vehicle                           0.30
                                                                                            0.30     $124.50
                                                                                                     $124.50
                             purchase
                             purchase of of 33 vehicles,
                                               vehicles, discuss
                                                          discuss logistics
                                                                   logistics
                             and
                             and timing
                                  timing ofof plan
                                               plan approval
                                                     approval and
                                                                and details
                                                                     details
                             related
                             related to
                                      to purchase
                                          purchase agreement.
                                                      agreement.


12/22/2021
12/22/2021           MM      Review
                             Review and
                                      and revise
                                            revise motion
                                                     motion toto sell,
                                                                  sell, CON,
                                                                        CON,                0.20      $83.00
                                                                                                      $83.00
                             contract
                             contract for
                                       for DD McGee
                                                McGee
12/23/2021
12/23/2021           MM      Advance
                             Advance changes
                                        changes // updates
                                                      updates toto McGee
                                                                     McGee                  0.40     $166.00
                             contract
                             contract (.2)
                                       (.2) to
                                             to address
                                                 address timing
                                                           timing of of
                             payment
                             payment andand 100%
                                               100% down
                                                      down payment
                                                              payment //
                             pickup
                             pickup at
                                     at the
                                         the same
                                              same time
                                                      time to
                                                            to address
                                                               address hishis
                             needs
                             needs for
                                    for timing
                                         timing resolution.
                                                   resolution.


1/3/2022
1/3/2022              AG     Email
                             Email counsel
                                      counsel fromfrom ReadyCap
                                                           ReadyCap re:   re:               0.30      $90.00
                             status
                             status of of paper
                                           paper titles
                                                    titles and
                                                             and forward
                                                                   forward
                             same
                             same to  to client
                                          client (.1)
                                                   (.1) and
                                                         and advance
                                                                advance filing
                                                                             filing
                             of
                             of proposed
                                 proposed sale  sale order
                                                       order forfor McGee
                                                                     McGee sale  sale
                             (.2)
                             (2)
1/3/2022
1/3/2022              AG
                      AG     review
                             review and and respond
                                               respond to   to email
                                                                email from
                                                                        from S.  S.         0.20
                                                                                            0.20      $60.00
                                                                                                      $60.00
                             Giles
                             Giles re:
                                     re: employee
                                           employee issue issue
1/4/2022
1/4/2022              DS
                      DS     review
                             review and and respond
                                               respond to   to email
                                                                email from
                                                                        from S.  S.         0.10
                                                                                            0.10      $14.00
                                                                                                      $14.00
                             Giles
                             Giles re:
                                     re: employee
                                           employee issue issue Draft
                                                                  Draft Proof
                                                                           Proof of of
                             Service
                             Service of  of Order
                                             Order Granting
                                                      Granting Debtor's
                                                                    Debtor's
                             Emergency
                             Emergency Motion  Motion for  for Sale
                                                                Sale of
                                                                      of Assets
                                                                          Assets
                             Free
                             Free and
                                    and Clear
                                           Clear ofof All
                                                       All Liens,
                                                             Liens, Claims,
                                                                     Claims, and and
                             Encumbrances,
                             Encumbrances, Pursuant  Pursuant to   to 11
                                                                       11 U.S.C.
                                                                            U.S.C. §  §
                             363
                             363 and;
                                   and; file
                                           file Proof
                                                 Proof of of Service
                                                              Service (.1).
                                                                         (.1).

1/4/2022
1/4/2022             MM
                     MM      Advane
                             Advane service
                                      service of of order
                                                      order onon sale
                                                                  sale to
                                                                        to                  0.10
                                                                                            0.10      $41.50
                                                                                                      $41.50
                             McGee
                             McGee
1/7/2022
1/7/2022             MM
                     MM      Strategy
                             Strategy and
                                       and analysis
                                              analysis of of confirmation
                                                              confirmation                  5.00
                                                                                            5.00]   $2,075.00
                                                                                                    $2,075.00
                             issues,
                             issues, re
                                     re tolling
                                         tolling agreement,
                                                  agreement, truck  truck
                             sales,
                             sales, surcharge
                                    surcharge and and administrative
                                                         administrative
                             expense
                             expense claims
                                       claims (.5)
                                                 (.5)
1/12/2022
1/12/2022            MM
                     MM      Comm
                             Comm with
                                     with D D // S
                                                 S Giles
                                                    Giles rere Titles
                                                               Titles to
                                                                       to sold
                                                                           sold             0.10
                                                                                            0.10      $41.50
                                                                                                      $41.50
                             vehicles
                             vehicles (.1)
                                       (.1)
                Case 3:21-bk-02197-RCT                         Doc 263-1                   Filed 07/05/22        Page 14 of 17


BIZGISTICS
BIZGISTICS Doc.
           Doc. 1213
                : 213
| DateDate    |     User |
                      User                 Description
                                                     Description                         |            Time
                                                                                                      Time | Fee
                                                                                                              Fee |
1/15/2022
1/15/2022             MM
                      MM     follow
                             follow up   up with
                                               with SS // D  D Giles
                                                                 Giles re   re vehicle
                                                                                 vehicle                0.50
                                                                                                        0.50     $207.50
                                                                                                                 $207.50
                             titles,
                             titles, sale
                                       sale of  of remaining
                                                     remaining vehicles,vehicles, recap   recap
                             of   RC  Meeting
                             of RC Meeting (.5)        (.5)
1/21/2022
1/21/2022             DS
                      DS     Update
                             Update information
                                           information for       for Unit,
                                                                        Unit, Lien Lien andand          0.40      $56.00
                                                                                                                  $56.00
                             Owner
                             Owner on     on Master
                                                Master Truck Truck List  List
1/23/2022
1/23/2022            MM
                     MM      Advance
                             Advance sale    sale o  o ff personal
                                                           personal property property to      to        3.30
                                                                                                        3.30]   $1,369.50
                                                                                                                $1,369.50
                             FedEx
                             FedEx terminals
                                        terminals in      in Florida
                                                               Florida reviewreview
                             otential
                             otential pourusers,
                                            pourusers, contact  contact poteetlapoteetla
                             perties
                             perties wiht wiht interest
                                                   interest 1.5,  1.5, longlong call call SS// D  D
                             Giles
                             Giles re re truck
                                           truck // trailer,
                                                        trailer, tooks
                                                                     tooks locations
                                                                                  locations
                             and
                             and issues with confirmation (1.2)
                                    issues      with     confirmation              (1.2) and and
                             follow
                             follow up   up with
                                               with extensive
                                                        extensive term    term sheet  sheet
                             (.6)
                             (.6)
1/25/2022
1/25/2022            MM
                     MM      Follow
                             Follow up   up email
                                                email and and callcall discussions
                                                                         discussions                    0.30
                                                                                                        0 .30    $124.50
                                                                                                                 $124.50
                             with
                             with ReadyCap
                                     ReadyCap and        and D  D McGee
                                                                    McGee re        re sales
                                                                                         sales
1/25/2022
1/25/2022            MM
                     MM      Call
                             Call with
                                    with D    D McGee
                                                 McGee re      re service
                                                                    service truck.truck.                1.10
                                                                                                        1.10     $456.50
                                                                                                                 $456.50
                             personal
                             personal propertyproperty and    and title
                                                                      title to to these
                                                                                     these (3)  (3)
                             and
                             and follow
                                    follow u     u pcall
                                                    pcall to to address
                                                                  address P1000s   P1000s
                             and    fixes     needed        (.3)
                             and fixes needed (.3) Communicate     Communicate
                             iwth
                             iwth D  D Giles
                                         Giles re  re sales
                                                        sales and and truck
                                                                          truck issuesissues
                             (.2)
                             (.2) and
                                   and review
                                           review and    and revise
                                                                revise chart chart to   to
                             address
                             address same  same (.3)  (.3)
1/26/2022
1/26/2022            MM
                     MM      Communicate
                             Communicate with          with DD McGeeMcGee and      and D   D            1.10     $456.50
                             Giles
                             Giles re re sales,
                                           sales, of  of vhicles
                                                           vhicles approved
                                                                        approved by         by
                             Court,
                             Court, auhtization
                                        auhtization to        to have
                                                                   have lot   lot send
                                                                                    send
                             orde
                             orde randrand sale sale paperwork
                                                        paperwork (.3)       (.3)
                             communicate
                             communicate with         with C   C Morgan
                                                                   Morgan re        re
                             obtaining
                             obtaining tiles   tiles (.1)
                                                       (.1) call
                                                              call with
                                                                     with DD McGee  McGee
                             re
                             re Fecex
                                  Fecex biz, biz, quality
                                                    quality of   of vehicles,
                                                                      vehicles, (.4)    (.4)
                             email
                             email and and documentaiton
                                                documentaiton to             to EE
                             Johaneson re
                             Johaneson           re same
                                                     same (.3)  (.3)
2/2/2022
2/2/2022             MM      Revise
                             Revise sale sale motion
                                                  motion to    to deal
                                                                    deal with with Staling
                                                                                        Staling         1.30     $539.50
                             horse,
                             horse, craigs
                                        craigs list,list, FBFB market
                                                                 market place   place
                             concept
                             concept and    and communicate
                                                    communicate iwth           iwth SS // D   D
                             Giles
                             Giles again
                                      again re   re same
                                                      same (.6) (.6) Call
                                                                        Call with
                                                                                with
                             Ritchie
                             Ritchie Bros Bros re  re potential
                                                        potential sale    sale (.3)(.3) and
                                                                                          and
                             review
                             review and   and revise
                                                  revise salesale motion
                                                                      motion post-callpost-call
                             to   address        new     issues,
                             to address new issues, terms provided    terms        provided
                             on
                             on call
                                  call (.4)
                                         (.4)
2/4/2022
2/4/2022             MM      Call
                             Call D D Giles
                                       Giles re   re abandonment
                                                      abandonment of              of                    0.30     $124.50
                             vhielces,
                             vhielces, truck,truck, trailer
                                                         trailer and and A   A Simon
                                                                                 Simon
                             Voicemail
                             Voicemail
                Case 3:21-bk-02197-RCT                      Doc 263-1                Filed 07/05/22      Page 15 of 17


BIZGISTICS
BIZGISTICS Doc.
           Doc. 1213
                : 213
|    Date
      Date    |     User |
                      User                DescriptionDescription                    |           Time
                                                                                                Time | Fee
                                                                                                        Fee |
2/6/2022
2/6/2022              MM
                      MM     Finalize
                             Finalize motion
                                          motion to      to abandon,
                                                              abandon, (.1)     (.1) emai
                                                                                       emai       0.40   $166.00
                                                                                                         $166.00
                             lwith
                             Iwith SS // D D Giles
                                               Giles re   re sale
                                                               sale and
                                                                      and truck
                                                                              truck
                             disposition(
                             disposition( .1) review A Simon emails
                                                  .1)   review       A   Simon       emails
                             from
                             from SS Giles
                                        Giles and  and attached
                                                           attached
                             documentation
                             documentation (.2)          (.2)
2/7/2022
2/7/2022              AG
                      AG     Strategy
                             Strategy re:  re: abandonment
                                                  abandonment of             of assets
                                                                                 assets           1.30
                                                                                                  1.30   $390.00
                                                                                                         $390.00
                             and
                             and stay
                                    stay relief
                                           relief in   in response
                                                            response to      to request
                                                                                  request
                             from
                             from C. C. Morgan
                                          Morgan (.8)     (.8) Draft
                                                                  Draft proposed
                                                                           proposed
                             agreed
                             agreed motion
                                         motion and     and corresponding
                                                                corresponding
                             proposed
                             proposed order   order for   for consideration
                                                                 consideration by        by
                             ReadyCap
                             ReadyCap (.5)    (.5)

ET                I ei)Ws Mi
2/8/2022             MM       / abandonment of remainign vehciles                                 1.60   $664.00
                             to
                             to readycap
                                  readycap
2/13//22
2/13//22             MM      Review
                             Review and  and revise
                                                  revise stay stay relief
                                                                      relief// motion
                                                                                   motion         0.80   $332.00
                             re
                             re abandonment
                                  abandonment (.5);         (.5); call
                                                                    call SS D D Giles
                                                                                  Giles re re
                             sanners,
                             sanners, stay stay relief,
                                                     relief, vehicile
                                                                 vehicile location
                                                                               location
                             and
                             and safety
                                    safety (.3) (.3)
2/17/2022
2/17/2022            MM      revie
                             revie email
                                      email re   re trucks
                                                      trucks from  from Clive
                                                                            Clive andand          0.40   $166.00
                             response
                             response re     re same
                                                  same after after conferral
                                                                       conferral from   from
                             D
                             D Giles
                                Giles re re truckpost
                                              truckpost locations locations (.4)  (.4)
2/17/2022
2/17/2022            MM
                     MM      Draft
                             Draft M  M toto sell
                                                sell vehiciles
                                                       vehiciles (.8)   (.8) and
                                                                               and                1.80   $747.00
                             affidavit
                             affidavit of  of SS Giles
                                                    Giles (.3)(.3) and
                                                                     and
                             communicate
                             communicate iwth         iwth R    R Bros
                                                                   Bros (.4)(.4) reserach
                                                                                   reserach
                             additional
                             additional item   item related
                                                         related to   to stay
                                                                           stay relief
                                                                                    relief
                             (.2);  email      to   C   Morgan
                             (.2); email to C Morgan re stay relief    re  stay     relief
                             (.1)
                             (.1)

nen |preemies]
             on) ee
2/18/2022            MM      Draft response to M for Stay Relief (.4)                             0.40   $166.00

2/23/2022
2/23/2022            MM
                     MM      Review
                             Review revise
                                       revise and
                                                and respond
                                                       respond and  and email
                                                                          email      0.30
                                                                                     0.30 $124.50
                                                                                          $124.50
SS                           exchanges
                             exchanges withwith D D McGee
                                                      McGee re    re sales
                                                                     sales ofof     Bil
                             additional
                             additional vehicles
                                           vehicles
2/23/2022
2/23/2022            MM
                     MM      Coordinate
                             Coordinate with with JJ Ritchie
                                                      Ritchie re re salvage
                                                                     salvage         0.40 $166.00
                                                                                          $166.00
                             Sale
                             Sale and
                                   and "smalls"
                                         "smalls" andand email
                                                            email S/DS/D Giles
                                                                           Giles    Bil
                             re
                             re same
                                same
2/24/2022
2/24/2022            MM
                     MM      Email
                             Email with
                                     with Clive
                                            Clive Morgan
                                                   Morgan and   and D  D McGee
                                                                          McGee      0.30
                                                                                     0.30 $124.50
                                                                                          $124.50
                             re
                             re sales
                                sales of
                                       of vehicles
                                           vehicles (.1)(.1) and
                                                              and follow
                                                                    follow up up
                             with
                             with D D McGee,
                                      McGee, C   C Morgan,
                                                     Morgan, S/G   S/G Giles
                                                                         Giles rere
                             additional
                             additional sales
                                           sales issues,
                                                  issues, advancement
                                                              advancement
                             of
                             of sales,
                                sales, prices,
                                        prices, (.2)
                                                  (.2)
2/24/2022
2/24/2022            MM
                     MM      Review
                             Review andand response
                                              response to   to Erik
                                                                Erik Johanson
                                                                      Johanson       0.40 $166.00
                                                                                          $166.00
                             re
                             re Claim
                                Claim objeciton
                                        objeciton
                Case 3:21-bk-02197-RCT                  Doc 263-1             Filed 07/05/22    Page 16 of 17


BIZGISTICS
BIZGISTICS Doc.
           Doc. 1213
                : 213
Date  Date     |    User |
                      User              Description
                                                  Description               |          Time
                                                                                       Time | Fee
                                                                                               Fee _
2/25/2002
2/25/2002             MM
                      MM     response
                             response to    to Del
                                                Del McGee
                                                      McGee re  re sales
                                                                    sales issues
                                                                             issues      0.30   $124.50
                             (.2)
                             (.2) tripart
                                  tripart communications
                                              communications with      with C C
                             Morgan,       D  McGee      and
                             Morgan, D McGee and D Giles to    D  Giles   to
                             discuss
                             discuss sales
                                        sales issues
                                                 issues (.1)
                                                          (.1)
2/27/2022
2/27/2022            MM
                     MM      Revise
                             Revise response
                                       response to    to Motion
                                                          Motion for  for Relief
                                                                           Relief        1.10   $456.50
                             from
                             from stay
                                     stay andand prepare
                                                   prepare agreed
                                                               agreed order
                                                                          order toto
                             reduce
                             reduce disputes
                                        disputes and  and communicate
                                                            communicate
                             with
                             with C C Morgan
                                       Morgan re    re same
                                                        same (.6),
                                                                (.6),
                             Communicate
                             Communicate with      with C C Morgan
                                                             Morgan and  and D  D
                             McGee
                             McGee re   re offers
                                             offers onon various
                                                           various vehicles
                                                                       vehicles
                             (.3)
                             (.3) advance
                                  advance preparation
                                                 preparation of   of modified
                                                                       modified
                             sale
                             sale list
                                   list (.2)
                                         (.2)


2/28/2022
2/28/2022             DS
                      DS     Update
                             Update master
                                         master vehicle
                                                      vehicle speadsheet
                                                                   speadsheet                  0.20  $28.00
                             with
                             with the
                                    the value
                                          value and  and locations
                                                             locations (.1); (.1); file
                                                                                      file
                             Reponse
                             Reponse to    to Amended
                                                Amended motion    motion for    for
                             Relief
                             Relief from
                                      from the the Automatic
                                                      Automatic Stay     Stay
                             (Agreeing
                             (Agreeing in    in Part
                                                 Part andand Oppsoing
                                                                 Oppsoing in       in
                             Part)(.1)).
                             Part)(.1)).
3/7/2022
3/7/2022             MM
                     MM      Again
                             Again address
                                      address motionmotion for    for stay
                                                                       stay relief
                                                                                 relief by by  0.40 $166.00
                             Clive
                             Clive Morgan
                                     Morgan (readyCap),
                                                   (readyCap), request  request for    for
                             mutual     joint motion
                             mutual joint        motion instead instead of   of
                             contested
                             contested matter matter (.2), (.2), and
                                                                  and review
                                                                         review
                             Debtor's
                             Debtor's thoughts
                                           thoughts on      on Auction
                                                                 Auction Values Values
                             vs.
                             vs. Commercially
                                  Commercially Reasonable Reasonable values    values
                             upon
                             upon stay
                                     stay relief
                                             relief andand research
                                                               research relatedrelated
                             to
                             to same
                                 same (2) (2)
3/8/2022             MM      (and
                             (and discuss
                                    discuss vehicle
                                                 vehicle storage
                                                               storage issueissue with with    0.20  $83.00
                             Clive
                             Clive Morgan
                                     Morgan and    and Darrell.
                                                            Darrell. .2).2)
3/21/2022            MM      and email to Clive Morgan with update                             0.10  $41.50
                             on
                             on truckspot
                                  truckspot lot.  lot. .1.1
4/1/2022
4/1/2022             MM
                     MM      Email
                             Email toto S S Giles
                                             Giles // D   D Giles
                                                              Giles rere plan,
                                                                           plan,               0.10
                                                                                               0.10  $41.50
                                                                                                     $41.50
                             notice of completion and
                             abandonment.
                             abandonment.
4/1/2022
4/1/2022             MM
                     MM      Call
                             Call *Left
                                   *Left VM*VM* to   to C  C Morgan
                                                              Morgan re     re                 1.00
                                                                                               1.00 $415.00
                                                                                                    $415.00
                             truckspot,
                             truckspot, when  when we   we can can obtain
                                                                     obtain a     a           Billi
                             response
                             response to    to M M toto Value.
                                                          Value.
4/4/2022
4/4/2022             MM
                     MM      Review
                             Review and approve notice
                                        and     approve         notice of  of                  0.20
                                                                                               0.20  $83.00
                                                                                                     $83.00
                             abandonment.
                             abandonment. (.2)        (.2)
4/9/2022
4/9/2022             MM
                     MM      ReadyCap
                             ReadyCap has     has not
                                                    not transferred
                                                            transferred title,  title, askask  0.20
                                                                                               0.20  $83.00
                                                                                                     $83.00
                             for
                             for follow
                                  follow up  up and
                                                  and whether
                                                          whether interested
                                                                         interested
                             in
                             in potential
                                 potential buyerbuyer (.1)  (.1) and
                                                                  and Call
                                                                         Call from
                                                                                 from
                             Robert
                             Robert Jackson
                                       Jackson looking looking to   to buy
                                                                        buy
                             vehicles.
                             vehicles. (.1)(.1)
                Case 3:21-bk-02197-RCT                     Doc 263-1              Filed 07/05/22     Page 17 of 17


BIZGISTICS
BIZGISTICS Doc.
           Doc. 1213
                : 213
| DateDate    |     User |
                      User               Description
                                                  Description                    |          Time
                                                                                            Time | Fee
                                                                                                    Fee |
4/14/2022
4/14/2022             MM
                      MM     Call
                             Call with
                                   with D  D Giles
                                               Giles re re TruckSpot
                                                            TruckSpot and    and              0.30   $124.50
                             response
                             response to    to email
                                                email from from Truckspot
                                                                    Truckspot re    re
                             towing,     advise     on     next
                             towing, advise on next steps to       steps   to
                             advance
                             advance and   and transfer
                                                 transfer title,
                                                               title, query
                                                                        query lacklack
                             of
                             of response
                                 response from  from ReadyCap.
                                                          ReadyCap.
4/15/2022
4/15/2022            MM
                     MM      Call
                             Call with
                                   with Jennifer
                                           Jennifer at    at Truckspot
                                                             Truckspot to     to              0.40   $166.00
                             discuss
                             discuss status
                                        status of  of arrears,
                                                        arrears, towing
                                                                      towing
                             situation,
                             situation, liens,
                                             liens, etc.
                                                      etc. .2.2 Emails
                                                                  Emails to to DGDG SG SG
                             re
                             re pleadigs,
                                 pleadigs, IRS  IRS proof
                                                      proof of  of claim
                                                                     claim and
                                                                             and
                             Banner
                             Banner Depo.Depo. .2  .2
4/15/2022
4/15/2022            MM
                     MM      follow
                             follow up AGAIN with
                                       up   AGAIN       with (D  (D Giles)(.1)
                                                                      Giles)(.1) andand       0.20    $83.00
                             ReadyCap
                             ReadyCap with    with email
                                                      email andand voicemail
                                                                       voicemail to    to
                             facilitate
                             facilitate transfer
                                           transfer of    of title,
                                                             title, truckspot
                                                                       truckspot
                             issue.
                             issue. (.1)
                                      (.1)
4/16/2022
4/16/2022            MM
                     MM      Email
                             Email C  C Morgan
                                         Morgan again  again and and advise
                                                                        advise of of          0.10    $41.50
                             COB
                             COB Monday
                                    Monday for    for dealing
                                                         dealing with with Trucks
                                                                             Trucks
                             and
                             and title
                                   title issues.
                                           issues.
tora.
TOTAL           |     0      |000000000
                                    | 2860]
                                       28.60 $11,469.50
                                             $11,469.50
